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                                                                         FILED IN THE
                                                                     U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON



                                                                Jun 28, 2019
                                                                    SEAN F. MCAVOY, CLERK




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